
Tubley, J.
delivered the opinion of the court. .
This is an application on the part of the prisoner, by an ap*600peal in the nature of a writ of error, to reverse a judgment rendered against him in the Criminal Court at Memphis, for the offence of grand larceny, upon the ground, that the Judge refused him a continuance at the time he .was put upon his trial.
What has been said at the present term, in the case of Bellew vs. The State, relative to the course,of action pursued by this court, in cases of this land, is equally applicable to the present case.
The affidavit upon which prisoner moved for a continuance, states, that one James S. Youngis a material witness for him— that he expects to prove by him that he was not about the place where the property was said to have been stolen, and for which he was indicted.
This affidavit, if possible, is of a more doubtful character than that in the case of Bellew. “Was not about the place;” what does he mean by that? That he was not at the place ? If so why not say so? Does he mean that he was at another place, and, therefore, expected to prove an alibis If so why not so state it?
The affidavit is evasive, and insinuates without charging the existence of a fact, which, if true, would constitute a good de-fence. The Criminal Judge committed no indiscretion in refusing a continuance.
Let the judgment be affirmed.
